
W. SHARP, Judge,
concurring specially.
While I agree the petition for prohibition should be denied, I write to express my reasoning, which is based on procedural grounds, not substantive ones. If the trial judge in fact told an attorney (or any other witness) that the judge could not be fair and impartial in this case for whatever reason, that is a sufficient substantive reason to disqualify the judge, under the principles set out in MacKenzie v. Super Kids Bargain Store, Inc., 565 So.2d 1332 (Fla. *11461990). However, procedurally these facts were not sufficiently established in this case because the attached “affidavits” depended upon double-hearsay allegations, and no witness swore he or she had personal knowledge that the statement was made.
